Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 1 of 8




         Exhibit 1
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 2 of 8




                            Trial Exh. 0167 Page 0001
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 3 of 8




                            Trial Exh. 0167 Page 0002
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 4 of 8




                            Trial Exh. 0167 Page 0003
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 5 of 8




                            Trial Exh. 0167 Page 0004
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 6 of 8




                            Trial Exh. 0167 Page 0005
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 7 of 8




                            Trial Exh. 0167 Page 0006
.
    Case 5:18-cr-00258-EJD Document 1098-2 Filed 10/18/21 Page 8 of 8




                            Trial Exh. 0167 Page 0007
